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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                )
In re:                                          )
                                                )
Charles Paxton Paret,                           )       Case No. 23-217-ELG
                                                )
              Debtor.                           )       Chapter 7
                                                )
                                                )
Developer RE1 LLC,                              )
                                                )       Adv. Case No. _____________
              Plaintiff,                        )
                                                )       State Court Case 2022-CAB-005935
v.                                              )
                                                )
DP Capital LLC; Russell Drazin; Daniel Huertas; )
SF NU, LLC; and WCP Fund I LLC                  )
                                                )
              Defendants.                       )
__________________________________________)
                                                )
423 Kennedy St Holdings LLC,                    )
                                                )       State Court Case 2022-CAB-005935
              Plaintiff,                        )       (State Court Cases Consolidated)
                                                )
v.                                              )
                                                )
DP Capital LLC; Russell Drazin; Daniel Huertas; )
and WCP Fund I LLC                              )
                                                )
              Defendants.                       )
__________________________________________)


                                NOTICE OF REMOVAL

         Come now WCP Fund I LLC (“WCP”), DP Capital LLC (“DPCL”), SF NU, LLC (“SNL”),

Daniel Huertas (“Mr. Huertas”), and Russell Drazin (“Mr. Drazin”) (the “Defendants”), by and

through undersigned counsel, pursuant to Section 1452 of Title 28 of the United States Code,

Section 1334 of Title 28 of the United States Code, and Federal Rule of Bankruptcy Procedure



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9027, and hereby give notice of the removal of the above-captioned consolidated matters from the

Superior Court of the District of Columbia to the United States District Court for the District of

Columbia (which, as noted infra, results in the referral of the matter to the United States

Bankruptcy Court for the District of Columbia), and in support thereof note as follows:

                                      The Removed Cases

       1.      These are civil actions commenced in the Superior Court of the District of

Columbia by Developer RE1 LLC (“DRL”), on or about December 16, 2022, and by 423 Kennedy

St Holdings LLC (“423 Kennedy”), on or about July 13, 2023, with the two cases being

subsequently consolidated less than a month ago, on or about June 11, 2024.

       2.      DRL owns the real property located at 5501 First Street, NW, Washington, DC

20011 (the “DRL Property”).

       3.      423 Kennedy owns the real property located at 423 Kennedy Street, NW,

Washington, DC 20011 (the “423 Kennedy Property”).

       4.      WCP loaned monies to both DRL and 423 Kennedy, securing such loans with deeds

of trust fixed upon the DRL Property and the 423 Kennedy Property, respectively.

       5.      WCP declared both loans to be in default following the occurrence of various

breaches of the promissory notes and deeds of trust; despite such defaults, WCP permitted each

borrower until the maturity date of the loans to pay off the underlying promissory notes.

       6.      When neither 423 Kennedy nor DRL paid their correlative loans at maturity, WCP

commenced the process of foreclosing upon the respective properties.

       7.      These cases were brought by 423 Kennedy and DRL in an effort to (i) enjoin WCP

from foreclosing; (ii) assert WCP did not have the right to declare defaults under the promissory




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notes and deeds of trust; and (iii) seek various forms of damages, including forfeiture and monetary

damages.

       8.      423 Kennedy and DRL are also suing (i) Mr. Drazin, the substitute trustee under

the deeds of trust, on a theory of breach of fiduciary duty; and (ii) Mr. Huertas, DPCL, and SF NU,

on various theories (though SF NU is only a party to one of the two consolidated cases), some of

which are pegged to ownership of the promissory notes and holding rights under the deeds of trust.

       9.      Certain promissory notes and correlative deeds of trust, implicated in these two

consolidated cases, are now held by JPK NewCo LLC (“JPK”), a party to whom certain debt

instruments were transferred earlier this year. 423 Kennedy and DRL have refused to join JPK,

the holder of such instruments, despite the economic and property rights of JPK being implicated

by these proceedings.

       10.     The core litigation goals in these two cases, on the parts of DRL and 423 Kennedy,

appear to be frustrating the collection efforts of the Defendants and JPK, challenging the

indebtedness owed to various Defendants and JPK, and seeking relief from the terms of

commercial loan documents.

                                    The Alleged Partnership

       11.     On July 2, 2024, Wendell Webster (“Mr. Webster” or the “Trustee”) filed an

amended complaint (the “Amended Complaint”), in connection with the Chapter 7 bankruptcy of

Charles Paret (“Mr. Paret” or the “Debtor”), alleging, inter alia, the existence of a partnership

between Messrs. Paret and Huertas that “involve[s]” 423 Kennedy and myriad other companies

and real estate assets. See In re Paret, Case No. 23-217-ELG at DE #132, ¶ 45.1



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 The Amended Complaint was subsequently also docketed in the adversary proceeding captioned
Webster v. Huertas, et al., Case No. 23-10025, at DE #39.

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        12.     The Amended Complaint further alleges, inter alia, that Mr. Huertas “used” DRL

“to purchase foreclosed properties belonging” to the partnership between Messrs. Paret and

Huertas. Id. at ¶ 46.2

        13.     While the Amended Complaint suffers myriad flaws, a plain reading of the

document reveals the Trustee is asserting that 423 Kennedy is a part of the partnership the Trustee

alleges to exist and, further, that the same partnership has an interest in the property owned by

DRL. Id., passim.

        14.     The Amended Complaint seeks “imposition of a constructive trust on” the

properties comprising the alleged partnership, “transfer” of the alleged partnership’s properties “to

the trust,” and injunctive relief, among myriad other remedies. Id. at pp. 17- 20.

        15.     Stated otherwise: the Trustee is asserting that Mr. Huertas and Mr. Paret have a

partnership that owns some combination of 423 Kennedy, DRL, the 423 Kennedy Property, the

DRL Property, WCP’s interest in the 423 Property, and/or WCP’s interest in the DRL Property.

                                        Debtor Allegations

        16.     The assertions in the Amended Complaint are consistent with theories the Debtor

has espoused in connection with his bankruptcy proceedings.

        17.     Specifically, less than a week ago, on June 25, 2024, a meeting of creditors was

held in the Debtor’s bankruptcy case (the “Meeting of Creditors”).

        18.     At the Meeting of Creditors, the following colloquy touched upon the interplay of

(i) the alleged partnership, (ii) 423 Kennedy, and (iii) the DRL Property:

        MR. SADOWSKI: Okay. One second, Mr. Gardner (sic).

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  The manner in which this allegation is worded is such that it is not clear if the Trustee is alleging
DRL was used to purchase multiple properties or a single property; the Defendants do not mean
to suggest the Trustee is alleging multiple properties to have been acquired by DRL, especially
insofar as it is believed DRL has only ever owned the DRL Property.

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       Now, when you were being asked some questions by Mr. VerStandig, you gave
       some answers that things were currently in debate. I'm not going to debate you over
       your answers, but would it be fair to sum it up that -- all right. Let me ask it this
       way. Do you currently own a membership interest in 423 Kennedy Street Holdings,
       LLC?
       MR. PARET: I believe I do.
       MR. SADOWSKI: Okay. And is that belief based upon this theory that WCP was
       a partner with you? Is that what the basis for that belief is?
       MR. PARET: That is correct.
       MR. SADOWSKI: Okay. And would the same hold true for 5501? Excuse me. I
       don't have the address right in front of my face here. 5501 First Street Holdings,
       LLC, you indicated that it's -- there's a debate over whether you have a membership
       interest in that. And my understanding from your testimony is that the date is -- that
       the belief that you have, you have a membership interest is on this partnership
       theory with the WCP. Is that right?
       MR. PARET: That is correct, along with the fact that the LLCs that were in
       ownership, the investor group have ownership in those LLCs. That's -- that's -- it's
       still unclear. But that is the -- that's the theory.

Transcript of Meeting of Creditors, attached hereto as Exhibit A, at 46:19-47:17.

       19.     The theories espoused by Mr. Paret at the Meeting of Creditors appear to be

consistent with those promoted by the Trustee in the Amended Complaint.

                                  Core and “Related To” Status

       20.     If the Trustee is correct (i) that 423 Kennedy is part of the putative partnership

between the Debtor and Mr. Huertas; and (ii) that Mr. Huertas has wrongfully “used” DRL to

foreclose an asset belonging to the alleged partnership, the disposition of these cases will directly

impact the administration of the Debtor’s bankruptcy estate without regard to whether 423

Kennedy and DRL prevail, the Defendants prevail, or some combination thereof.

       21.     Should the Defendants prevail in these actions, the the lone asset of 423 Kennedy—

an alleged part of the partnership the Trustee is seeking to establish—will be foreclosed.

       22.     Should 423 Kennedy and/or DRL prevail in these actions, 423 Kennedy—an entity

the Trustee insists to be part of the alleged partnership—will retain its eponymous asset, and/or




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DRL (an entity the Trustee alleges to have been “used” by Mr. Huertas to take a partnership

property) will retain its sole asset.

        23.     Stated more simply: the Trustee is alleging a vast partnership, concerning myriad

properties and interests therein; these cases concern the disposition of two such properties and

security interests.

        24.     The relief sought by DRL and 423 Kennedy in these cases includes, inter alia, a

determination of the validity and extent of liens; to the extent that the Trustee is correct that one

or both of those liens are partnership assets, this is a core proceeding pursuant to Section

157(b)(2)(I) of Title 28 of the United States Code.

        25.     Equally, the Trustee asserts a partnership interest in assets titled in the name of both

423 Kennedy and DRL; to the extent the Trustee is correct in such assertion, these two cases will

directly affect the liquidation of the assets of the Debtor’s estate, thereby rendering this a core

proceeding under Section 157(b)(2)(O) of Title 28 of the United States Code.

        26.     Further, in light of the various allegations set forth in the Amended Complaint,

these two cases are most certainly “related to” the administration of Mr. Paret’s bankruptcy estate.

                                             General Denial

        27.     For the avoidance of doubt or ambiguity, Mr. Huertas and WCP deny—in the most

vehement terms possible—that there ever existed a partnership with Mr. Paret.

        28.     The removal of these cases is not based upon any theory in which the Amended

Complaint ought to be credited as true or legally proper but, rather, solely upon the relatively

uncontroversial theory that the Amended Complaint ought to be credited as constituting the current

allegations of a bankruptcy trustee in connection with the administration of the estate that he has

been charged with liquidating for the benefit of creditors.



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                                      Formalistic Recitations

       29.     If the Trustee’s allegations in the Amended Complaint are correct, the proceedings

in these two cases are subject to the automatic stay set forth in Section 362 of Title 11 of the United

States Code, and such stay has never been terminated.

       30.     Pursuant to DCt.LBR 5011-1, these consolidated cases are automatically referred

to the United States Bankruptcy Court for the District of Columbia upon being removed from the

Superior Court of the District of Columbia.

       31.     Attached hereto as Exhibit B is “a copy of all process and pleadings,” together with

all docket entries, in the consolidated cases.

       32.     A copy of this notice is being docketed in the Superior Court of the District of

Columbia, in a manner substantially contemporaneous with its filing herein, sans Exhibits A and

B.

       33.     The Defendants consent to the entry of final orders or judgments of the United

States Bankruptcy Court for the District of Columbia.


                                                            Respectfully submitted,

Dated: July 4, 2024                                    By: /s/ Maurice B. VerStandig
                                                          Maurice B. VerStandig, Esq.
                                                          Bar No. MD18071
                                                          The VerStandig Law Firm, LLC
                                                          1452 W. Horizon Ridge Pkwy, #665
                                                          Henderson, Nevada 89012
                                                          Phone: (301) 444-4600
                                                          Facsimile: (301) 444-4600
                                                          mac@mbvesq.com
                                                          Counsel for the Defendants



                            [Certificate of Service on Following Page]



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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 4th day of July, 2024, a copy of the foregoing is being

tendered to a third party commercial mailing vendor to be sent, via first class mail, postage prepaid,

on July 5, 2024, to:

       James D. Sadowski, Esq.
       Greenstein DeLorme & Luchs, P.C.
       801 17th Street, NW
       Suite 1000
       Washington, DC 20006
       Counsel for Developer RE1 LLC and
       423 Kennedy St Holdings LLC

       Alexandria J. Smith, Esq.
       Greenstein DeLorme & Luchs, P.C.
       801 17th Street, NW
       Suite 1000
       Washington, DC 20006
       Counsel for Developer RE1 LLC and
       423 Kennedy St Holdings LLC

       423 Kennedy St Holdings, LLC
       1629 K Street, NW
       Suite 300
       Washington, DC 20006

       Developer RE1 LLC
       1629 K Street, NW
       Suite 300
       Washington, DC 20006

A copy is also being sent to each of the foregoing lawyers, electronically, through the docketing

of this notice in the consolidated Superior Court case.


                                                          /s/ Maurice B. VerStandig
                                                          Maurice B. VerStandig




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